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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                        Case No. 2:13-cv-14050-MARTINEZ-GOODMAN


   SECURITIES AND EXCHANGE
   COMMISSION,

           Plaintiff,

   vs.

   WE THE PEOPLE, INC. OF THE
   UNITED STATES,

         Defendant.
   ___________________________________/


                  RECEIVER’S SEVENTH STATUS REPORT WITH
         ACCOUNTING OF RECEIVERSHIP ASSETS TRANSFERRED TO COMERICA
                                    AND
                       MOTION FOR PARTIAL DISCHARGE

           Melanie E. Damian, the court-appointed receiver (the “Receiver”) for We the People, Inc.

   of the United States (“WTP” or the “Receivership Defendant”) in the above-captioned Securities

   and Exchange Commission (“SEC”) enforcement action, now submits, pursuant to this Court’s

   Order Granting Motion to Approve Plan for Transfer of Receivership Assets [E.C.N.#117]

   (referred to herein as the “Transfer Order”), her Seventh Status Report With Accounting of

   Receivership Assets Transferred to Comerica and Motion for Partial Discharge, and states as

   follows:

                                       I. INTRODUCTION

           On August 7, 2014, this Court entered the Transfer Order [E.C.N. #117], granting the

   Receiver’s Motion to Approve her Plan for the Transfer of Receivership Assets [E.C.N. #115].
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   In the Transfer Order, the Court approved the Receiver’s plan for the transfer of the assets of the

   Receivership Estate to Comerica Legacy Foundation (“Comerica”), as set forth in the Receiver’s

   Motion and attached Agreement with Comerica. See E.C.N. # 117 at ¶2. This Court also ordered

   that, within thirty (30) days, the Receiver shall: (1) provide to the Court a full accounting of the

   assets transferred; (2) advise the Court as to whether there are further duties and responsibilities

   for the Receiver to fulfill pursuant to this Court’s February 13, 2013, Order Appointing Receiver

   and other orders of this Court; and (3) make a recommendation as to whether the Receiver

   should be discharged. Id. at ¶8.

          The Receiver submits the instant Report in compliance with the Court’s directives in the

   Transfer Order. As explained in greater detail below, the Receiver has thus far transferred more

   than 500 commercial annuities, $4.2 million in cash, one piece of real property presently valued

   at approximately $25,500, and miscellaneous office equipment from the Receivership Estate to

   Comerica.    Itemized lists of the transferred assets are attached hereto as Exhibits 1-4 and

   explained below. The Receiver further submits that she has very limited remaining duties and

   responsibilities to fulfill which, as explained below, are primarily related to the completion of

   pending claw-back litigation and the final assessment of Comerica’s compliance with the Asset

   Transfer Agreement.      Therefore, the Receiver recommends that the Receiver should be

   discharged of her duties as Receiver with the exception, described in detail below, that she

   remain in place for sixth (6) months with the limited responsibilities of completing pending

   litigation on behalf of the Receivership Estate and conducting a final review of Comerica’s

   compliance under the Transfer Order and Asset Transfer Agreement.




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                                     II. BRIEF BACKGROUND

          On February 4, 2013, the Securities and Exchange Commission (“SEC”) filed its

   Complaint for injunctive and other relief against WTP. The SEC alleged that WTP offered

   charitable gift annuities (“CGAs”) in violation of the anti-fraud provisions and registration

   provisions of the Securities Act of 1933 and the Securities Exchange Act of 1934 (including

   Rule 10b-5 promulgated thereunder) based on WTP’s “false and misleading statements made in

   connection with the offer, sale, and purchase of securities,” i.e., the issuance of the CGA

   agreements. [E.C.N.# 1.at ¶3.] That same day, the SEC filed unopposed Motions for Judgment

   (D.E. 3), and to Appoint a Receiver [E.C.N.# 4.].

          On that same day, the Court entered the Receivership Order, which required the Receiver

   to “assume and control the operations of the Receivership Defendant.”            [E.C.N.# 6 ¶ 4].

   Pursuant to the Receivership Order, the Receiver is obligated to “determine the nature, location

   and value of all property interest of the Receivership Defendant,” “take custody, control and

   possession of all Receivership Property and records relevant thereto from the Receivership

   Defendant,” “sue for and collect, recover, receive and take into possession from third parties all

   Receivership Property,” “manage, control, operate and maintain the Receivership Estates,” “take

   such action as necessary and appropriate for the preservation of Receivership Property.” [Id. at ¶

   6.A.- 6.B., 6.G.- 6.H.].

          In the course of the Receiver’s investigation of the acts, conduct, and financial affairs of

   the Receivership Entities, the Receiver identified causes of action against various parties which

   the Receiver has pursued on behalf of the Estate. The Receiver has investigated and pursued

   causes of action against these parties in an effort to increase the value of the Receivership Estate

   for the benefit of WTP’s customers and investors. As explained in greater detail below, to date,



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   the Receiver has settled actions against the former officers and directors of WTP, against former

   marketing advisors for WTP, and against former counsel for WTP, resulting in a gain of more

   than $400,000 for the Estate.1

          Since her appointment, the Receiver, pursuant to her duty as prescribed by the

   Receivership Order, has filed six (6) status reports, in which she details all of her efforts and

   accomplishments in this Receivership to date.        A full description of the history of the

   Receivership and all of the Receiver’s efforts and accomplishments in connection with

   identifying and marshaling assets of the Estate and otherwise fulfilling her duties under the

   Receivership Order, are detailed in the Receiver’s six previous Status Reports (collectively, the

   “Reports”) [ECF ## 19, 45, 76, 94, 103, and 113].

           III. ACCOUNTING OF THE ASSETS TRANSFERED TO COMERICA

          Pursuant to this Court’s Transfer Order, on October 7, 2014, the Receiver transferred the

   following assets from the Receivership Estate to Comerica:

          a) 504 Commerical Annuities, listed on the spreadsheet attached hereto as Exhibit 1 and

              described below;

          b) Title to one piece of real property located at 3320 Harris Road, in Knoxville,

              Tennessee, described below and in the Property Tax Notice and Appraisal attached

              hereto as Composite Exhibit 2;

          c) $4,200,000 previously held in the Receivership Estate’s operating account at Wells

              Fargo, described in Exhibit 3, hereto, and discussed below;



   1
    The Receiver has thus far settled claims against 24 former marketing advisors for WTP. Many
   of the settlement agreements with the former marketing advisors provide for payment terms
   pursuant to which the defendants make monthly payments to the Receiver over a term. As such,
   not all of the cash provided for in the agreements has been paid to or received by the Receiver,
   but, instead, the Receiver continues to receive their payments on a monthly basis.
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          d) $103.15 in petty cash previously located at the former headquarters of WTP; and

          e) Miscellaneous assets, including computers and office equipment previously located at

                the former headquarters of WTP and more fully described on the spreadsheet attached

                hereto as Exhibit 4.

                                        (a) The Commercial Annuities

          The Commercial Annuities are the CGAs at issue in the SEC’s enforcement action

   against WTP and the primary asset of the Receivership Estate. As of the date of transfer, there

   were 504 commercial annuities, all of which have been transferred to Comerica. There were 941

   CGAs which had been managed by the Receiver since the inception of the Receivership. The

   management responsibilities of the 941 CGAs were transferred to Comerica on October 7, 2014,

   and Comerica has been managing them ever since. The Receiver continues to receive and

   complete change of ownership forms from the various insurers that issued the CGAs as part of

   the transfer process and as required by the various insurers’ policies. The annuity companies in

   some circumstances have made the transfer process difficult, but the Receiver’s work to this end

   is nearly complete. Additionally, the Receiver and her counsel continue to work with Comerica

   to resolve individual issues with the various contracts as Comerica finalizes the transfer process

   in compliance with its own procedures. Other than these administrative functions, the Receiver

   has relinquished her responsibilities to Comerica insofar as management of the CGAs is

   concerned.

                                         (b) The Tennessee Property

          As reported in the Initial Report and subsequent status reports, WTP owned several

   pieces of real property at the time the Receiver was appointed. The Receiver made every effort

   to market and sell those properties for prices that were in the best interest of the Receivership



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   Estate. Although the Receiver was able to complete the sale of two properties held by the Estate,

   one piece of property remained in the Estate at the time of transfer. Title to the property, which

   presently has an appraised value of approximately $25,500 and is located in Knoxville,

   Tennessee, was transferred to Comerica from the Estate by quitclaim deed shortly after October

   7, 2014. See Exhibit 5 (the Quitclaim Deed), attached hereto.

                       (c) Cash Held In The Receivership Estate’s Operating Account

          The Receivership maintained a business checking account at Wells Fargo Bank. The

   account was primarily used to make payments to annuitants and to pay the costs associated with

   operation of the ongoing business of the Estate since the inception of the Receivership. On

   October 7, 2014, the Receiver transferred $2.7 million from the Wells Fargo account to

   Comerica. See Exhibit 3. On October 14, 2014, the Receiver transferred an additional $1.5

   million, and the Receiver has begun arrangements for the transfer of an additional $1.2 million to

   Comerica which will be completed by November 7, 2014. Id. As a result, the Wells Fargo

   account will be left with a balance of $404,654.50. The balance will be transferred, less fees and

   expenses, at the termination of the Receivership. Moreover, the Receiver will transfer the

   proceeds collected from the clawback actions discussed above to Comerica on at least quarterly

   basis until the cases are closed and/or final payments have been received.

                                                (d) Petty Cash

          The Restructuring Officer had maintained a small amount of petty cash on hand in the

   main office from which WTP and the Receivership operated to cover minor costs which arose as

   part of the daily business operations. All of the petty cash was transferred to Comerica on

   October 7, 2014.




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                                           (e) Miscellaneous Assets

           Any and all remaining office equipment, computers, furniture, and miscellaneous

   property remaining in the former headquarters of WTP and the Receivership Estate were

   transferred to the possession of Comerica on October 7, 2014. Those items are listed in Exhibit

   4, hereto.

          IV. REMAINING DUTIES AND RESPONSIBILITIES OF THE RECEIVER

           As indicated above and set out in the Receiver’s Status Reports to date, the Receiver has

   fulfilled all of her duties and responsibilities to date pursuant to this Court’s February 3, 2013,

   Order Appointing Receiver and other orders of this Court. At this time, the Receiver’s only

   continuing work on behalf of the Receivership Estate involves the pursuit and resolution of

   ongoing litigation against WTP’s former marketing advisors and WTP’s former counsel and

   administrative work to assure that the transfer of the CGAs to Comerica is carried out according

   to the terms of the Transfer Agreement and in the best interests of the annuitant and investors

   whose contracts have been transferred.       Accordingly, the Receiver submits that a partial

   discharge of the Receiver is appropriate.

           The Receiver recommends that it would be in the best interests of the annuitants and the

   investors for the Receiver to conduct a 6-month review concerning Comerica’s compliance with

   the requirements of the Transfer Order and the Transfer Agreement. In this regard, the Receiver

   recommends that the Court leave the Receiver in place for six months from the date of entry of

   an Order partially discharging the Receiver with the narrow duties of conducting a review and,

   shortly thereafter, reporting to the Court her findings concerning the following: whether

   Comerica has properly invested the transferred funds, including a basic audit of Comerica’s

   investment strategy in connection with those funds; whether Comerica has been making timely



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   payments to annuitants pursuant to the transferred CGAs; and whether Comerica has complied

   with all tax requirements as of the close of 2014, including compliance with the Closing

   Agreement between the Receiver and the Internal Revenue Service. To avoid additional cost and

   expense to the Receivership Estate, the Receiver requests that she be relieved of all other duties

   under the Receivership Order, including quarterly reporting duties, until she submits her final

   Report at the close of the six-month period.

            The Receiver further posits that by leaving the Receiver in place for the six-month

   period, albeit with limited duties and powers, the Receiver and her counsel will have sufficient

   time to complete any remaining administrative and ministerial duties in connection with the

   transferred CGAs, to complete necessary tax documents for 2014, and to complete the transfer to

   Comerica of proceeds from most, if not all, of the outstanding and pending litigation on behalf of

   the Estate.

          Two weeks after the close of the six-month period, the Receiver will report her findings

   concerning Comerica’s compliance with the Transfer Order and will provide a final accounting

   concerning the transfer of any outstanding funds to Comerica.

                                   V. FINAL FEES AND COSTS

          In order to accomplish the limited remaining duties of wrapping up the Receivership and

   ongoing litigation and of conducting a review of Comerica’s compliance and reporting her

   findings to the Court, the Receiver anticipates that she and her counsel will require a total of

   approximately fifteen to twenty combined hours of work.

          At the end of the six months, the Receiver will transfer any remaining balance to

   Comerica and provide an accounting of that final transfer to the Court with her final Report. At

   that time, the Receiver recommends that she be fully and finally discharged.



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                                        VI. CERTIFICATION

          Undersigned counsel hereby certifies that she has conferred with counsel for the SEC

   regarding her recommendations herein and such counsel consents to those recommendations.

                                         VII. CONCLUSION

          WHEREFORE, for the reasons set forth above, the Receiver respectfully recommends

   that this Court enter an order: (1) partially discharging the Receiver and relieving her of all of her

   duties and responsibilities as set forth in this Court’s February 13, 2014, Receivership Order,

   with the limited exceptions described above; (2) requiring the Receiver to remain in place for six

   months with the limited responsibilities of: conducting a review of Comerica’s compliance with

   the terms of the Transfer Order and reporting her findings to the Court within two weeks after

   the end of the six months; of completing all administrative and tax-related duties relating to the

   transfer of the CGAs to Comerica; and of transferring all funds recovered in connection with

   ongoing and pending litigation on behalf of the Receivership Estate; and (3) granting such other

   relief as this Court deems just and appropriate.

   Dated: November 6, 2014.

                                                  Respectfully submitted,

                                                  DAMIAN & VALORI, LLP
                                                  Counsel for Receiver
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                                                  Miami, Florida 33131
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                                                  Facsimile: (305) 371-3965

                                                  /s/ Melissa Damian Visconti
                                                  MELISSA DAMIAN VISCONTI
                                                  FLORIDA BAR NO. 0068063




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                                   CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing Receiver’s Seventh

   Status Report With Accounting of Receivership Assets Transferred to Comerica and Motion for

   Partial Discharge was served via CM/ECF this 6th day of November, 2014, upon all counsels of

   record.


                                              /s/ Melissa Damian Visconti
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                                              FLORIDA BAR NO. 0068063

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